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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                               CRIMINAL NO. 18-118

VERSUS                                                 SECTION "F"

WILLIAM MCGINNESS                                      VIOLATION: 18 USC § 371
PAUL TALLMAN                                                      18 USC § 554
ALEX MADRIAGA                                                     16 USC § 3372(d)(2)
WAYNE ANDREWS                                                     16 USC § 3373(d)(3)(A)
RENE RIZAL                                                        18 USC § 2

                               NOTICE OF SENTENCING
                             (As to William McGinness ONLY)
                              (Previously set for 2/3/2021)

Take Notice that this criminal case has been set for SENTENCING on
APRIL 28, 2021 at 1:30 P.M., before JUDGE MARTIN L.C. FELDMAN, Federal
Courthouse Building, Courtroom C551, 500 Poydras St., New Orleans, LA 70130.
      IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING

PERSONS ON BOND MUST REPORT TO THE                DEPUTY U.S. MARSHAL IMMEDIATELY
OUTSIDE THE AFORESAID COURTROOM                   FOR EVALUATION AND SEARCH 15
MINUTES PRIOR TO APPEARANCE.
  DATE: January 15, 2021                           CAROL L. MICHEL, CLERK
  TO:                                              by: Cherie B. Stouder, Deputy Clerk
  WILLIAM MCGINNESS
  BUENA PARK, CA
  COUNSEL FOR MCGINNESS:                           AUSA GREGORY M. KENNEDY
  ROBERT TOALE                                     DOJ/ENRD: MARY DEE CARRAWAY

  PAUL TALLMAN                                     U.S. Marshal
  DESTREHAN, LA
  COUNSEL FOR TALLMAN:                             U.S. Probation/Pretrial Services Unit
  WILLIAM P. GIBBENS
                                                   JUDGE FELDMAN
  IAN ATKINSON
                                                   MAGISTRATE JUDGE
  ALEX MADRIAGA
  BUENA PARK, CA                                   FOREIGN LANGUAGE INTERPRETER:
  COUNSEL FOR MADRIAGA:                            NONE
  BRIAN CAPITELLI
                                                   AGENCY: U. S. FISH & WILDLIFE
  WAYNE ANDREWS                                    SERVICE
  ROYAL OAKS, CA                                   SPECIAL AGENT BEN BRYANT
  COUNSEL FOR ANDREWS:
  PATRICK A. GIRAUD                                If you change address, notify
                                                   Clerk of Court by phone,
  RENE RIZAL                                       (504) 589-7683
  CERRITOS, CA
  COUNSEL FOR RIZAL:
  ELIZABETH CARPENTER
